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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------ x
PETERSEN ENERGÍA INVERSORA,          :
S.A.U. and PETERSEN ENERGÍA, S.A.U., :
                                     :
                  Plaintiffs,        :
                                     :   Case No.: 1:15-CV-02739 (LAP)
                  v.                 :
                                     :
ARGENTINE REPUBLIC and YPF S.A., :
                                     :
                  Defendants.
                                     :
------------------------------ x

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ETON PARK CAPITAL MANAGEMENT, :
L.P., ETON PARK MASTER FUND, LTD.,:
and ETON PARK FUND, L.P.,         :
                                  :
                 Plaintiffs,      :
                                         Case No.: 1:16-CV-08569 (LAP)
                                  :
                 v.               :
                                  :
ARGENTINE REPUBLIC and YPF S.A., :
                                  :
                     Defendants.
                                  :
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            ARGENTINA’S MEMORANDUM OF LAW IN SUPPORT OF
                  MOTION FOR A STAY OF ENFORCEMENT
              OF JUDGMENT PENDING APPEAL WITHOUT BOND


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                                PRELIMINARY STATEMENT

               On September 15, 2023, this Court entered its final judgment against The Republic

of Argentina, awarding Plaintiffs $16.1 billion—the highest award ever entered in this District, to

our knowledge. The Republic has filed its notice of appeal with the Second Circuit (see Petersen

ECF No. 504), and now respectfully moves for a stay of execution or enforcement of the judgment

without bond pending that appeal. See Fed R. Civ. P. 62(b).

               The circumstances before the Court are extraordinary, not only because of the

unprecedented size of the judgment but also because the judgment debtor is a sovereign nation

with many preexisting creditors across the globe. The Republic does not have the financial

resources to post a bond, and the absence of a stay on enforcement of the judgment would

immediately trigger sprawling discovery, attachment, and execution proceedings that will be

difficult, if not impossible, to unwind should the Republic prevail on appeal in any material respect.

Accordingly, “due to all the unusual circumstances, including that the debtor is [a sovereign],” the

Court should stay all proceedings relating to execution of the judgment pending appeal and

“waive[] the requirement of posting [a supersedeas] bond.” Cayuga Indian Nation of New York v.

Pataki, 188 F. Supp. 2d 223, 256 (N.D.N.Y. 2002) (citation omitted); see River Oaks Marine, Inc.

v. Town of Grand Island, 1992 WL 406813, at *2 (W.D.N.Y. Dec. 10, 1992) (no bond or other

security required for stay under Rule 62 where “immediate execution could work substantial

hardship on the Town’s residents and visitors”).

               First, it would be impossible for the Republic to immediately pay or bond the

judgment in this case, which represents almost 20% of its budget for 2023. The Republic’s

declarants—the Secretary of Treasury and the Secretary of Finance—both attest to the

insurmountable legal and practical challenges the Republic would face in attempting to secure a

bond or pay the judgment this year. And even if the Republic could somehow immediately secure
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a bond or pay the judgment, doing so would cripple a nation already suffering from severe inflation

and drought. See Texaco Inc. v. Penzoil Co., 784 F.2d 1133, 1155 (2d Cir. 1986) (waiving bond

requirement following issuance of $11.12 billion judgment in Texas state court where party could

not “possibly meet” the bond requirement without entering into bankruptcy proceedings), rev’d on

other grounds, 481 U.S. 1 (1987).

               Second, principles of international comity weigh strongly in favor of granting a stay

without requiring a bond. Cayuga Indian Nation, 188 F. Supp. 2d at 255 (taking into account

principles of “state sovereignty” in waiving bond requirement).           Requiring a bond would

effectively “embroil” the Republic in “expensive litigation” proceedings around the world

concerning discovery and collection of its assets, a scenario that the Supreme Court has cautioned

against. Federal Republic of Germany v. Philipp, 141 S. Ct. 703, 714 (2021) (quotation omitted).

Plaintiffs reportedly have “a team of 30 recovery specialists” working to enforce the judgment,1

and just last week Plaintiffs served seventy-seven burdensome and invasive requests for

production that seek information well beyond matters reasonably relevant to the discovery of assets

and impinge on the Republic’s sovereignty, including by seeking documents regarding the

Republic’s relationships with other nations and inter-governmental organizations. (See, e.g., Ex. 3

(Document Requests).)

               Third, absent a stay, Plaintiffs’ enforcement efforts will directly prejudice “existing

creditors.” In re Nassau County Strip Search Cases, 783 F.3d 414, 417 (2d Cir. 2015) (outlining

non-exclusive factors relevant to determining whether waiver of bond requirement is appropriate).

Any attempted seizure of the Republic’s assets “would be satisfied from the same limited pool of


1
 Joe Miller & Ciara Nugent, After $16 Billion Judgment, Burford’s Next Battle Will Be Making
Argentina Pay, Financial Times (Sept. 14, 2023), https://www.ft.com/content/1abd35df-1efd-
4c61-b983-b5a580e44b3a.


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funds sought by” these existing creditors. Sec. Inv. Prot. Corp. v. Bernard L. Madoff Inv. Sec.

LLC, 443 B.R. 295, 316 (Bankr. S.D.N.Y. 2011). Plaintiffs should not be authorized to begin

global collection proceedings that may never be needed and would place the Republic’s other

creditors “in an insecure position.” In re Nassau County, 783 F.3d at 418.

               Fourth, the Republic’s appeal raises, at a minimum, challenging issues of first

impression for the Second Circuit. The Court ruled on significant jurisdictional and comity issues

and adjudicated complex questions of Argentine public and private law. This factor counsels

strongly in favor of a stay of execution without bond because if the Republic prevails on appeal in

whole or in any material part, it would be extremely difficult for the Republic to recover any assets

from the undisclosed third-party investors to whom Burford Capital has sold 38.75% of its interest

in these cases or from creditors in Petersen’s Spanish bankruptcy proceedings.2 Given that

Rule 62(b) serves to “protect[] . . . against the risk that payment cannot be recouped if the decision

should be reversed,” In re Nassau County, 783 F.3d at 417 (quotation marks omitted), the Court

should not condone such a result.

               Fifth, the balance of the equities favors the Republic. Argentina “is not going

anywhere”; Plaintiffs are entitled to post-judgment interest at 5.42% per year, see 28 U.S.C.

§ 1961, and they can enforce the judgment just as well after appeal as before. Morgan Guar. Trust

Co. of New York v. Republic of Palau, 702 F. Supp. 60, 66 (S.D.N.Y. 1988) (Sweet, J.). It is in

the interests of all parties and affected courts for any collection proceedings to take place in an

orderly, as opposed to a haphazard, fashion.




2
 Burford Capital LLC, Burford Capital Statement on YPF Summary Judgment Ruling (Apr. 4,
2023) (Petersen ECF 441-1).


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                Finally, if the Court does not grant the Republic’s motion, it should temporarily

stay enforcement without bond to allow the Republic time to seek the same relief from the Second

Circuit.

                                         BACKGROUND

                On September 15, 2023, this Court entered judgment against the Republic for $16.1

billion. This sum is large for any national budget, but truly overwhelming for the Republic because

of the fiscal and monetary issues it faces, as it continues to seek to provide services to its over 45

million people, to alleviate its debt burden of $235 billion, and to stabilize its currency, as the

country suffers from severe inflation. Numerous obstacles, both legal and practical, would make

obtaining a bond to guarantee a stay—or paying the judgment before resolution of its appeal—

impossible.

                As a threshold matter, legal barriers preclude the Republic from funding a $16.1

billion bond or paying that amount out to Plaintiffs at this time. As the Secretary of the Argentine

Treasury Raúl Rigo explains, such a payment currently would be impossible because “[u]nder

Article 170 of Law 11,672 (the Permanent Supplementary Budget Law [Ley Complementaria

Permanente de Presupuesto]),” a “judgment that is still subject to appeal is not considered final”

and “cannot be budgeted for” under Argentine law. (Ex. 1 (Rigo Decl.) ¶ 7.) Because the Republic

has filed its notice of appeal from the Court’s order (see Petersen ECF No. 504), the judgment is

not final under Argentine law until the appeal is resolved.

                In any event, under Argentine law, the “only payments the Argentine government

can make in the current year” are those included in “the Budget Bill approved by the National

Congress for the year or those added in any amendment to the Budget Bill, during the fiscal year.”

(Ex. 1 (Rigo Decl.) ¶ 8.) The Argentine Congress understandably did not appropriate funds in this

year’s budget—submitted to it in 2022, before the Court’s March 30, 2023 summary judgment


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ruling—to bond or pay a $16.1 billion judgment. (Id.) Nor could the Congress do so now: there

are no “sources of funding to finance or secure the amount of the Judgment in this fiscal year.”

(Id. ¶ 10.) The International Monetary Fund recently estimated that the Republic’s Central Bank

had negative $9.8 billion in net international reserves as of the end of June 2023.3 And “[t]he re-

allocation of amounts already budgeted and executed” would not be feasible this late in the year

because 80% of the 2023 budget is comprised of mandatory spending on social services and other

public benefits that cannot be foregone as a matter of Argentine law. (Id. ¶¶ 8(b), 12.)

               Borrowing funds even approaching the amount of the $16.1 billion judgment—or

that would be necessary to secure the judgment—also is not a viable option for the Republic. The

Republic cannot raise the necessary funds from international lenders. As the Republic’s Secretary

of Finance Eduardo Setti explains: “The Republic currently does not have the ability to issue

public debt on the international capital markets,” as exemplified by its Ca, CCC-, and C credit

ratings, respectively, from Moodys, S&P, and Fitch. (Ex. 2 (Setti Decl.) ¶ 6.) The Republic was

last able to issue debt in the international market in January 2018. (Id.) At this point, the IMF is

targeting 2025, at the earliest, for the Republic to “strengthen debt sustainability and secure a

gradual re-accessing of international markets.” See IMF Report, supra n.3 at 16. Because the

Republic cannot borrow on international markets, it is confined to the Argentine market, but its

“local market would not be able to absorb additional net financing of the magnitude required to

pay the amount of the Judgment, which, in all events, would require the approval of the Argentine

Congress” and “take many months to complete.” (Ex. 2 (Setti Decl.) ¶ 10.)



3
   Net international reserves after excluding swap lines with other central banks, reserve
requirements on domestic dollar deposits, and deposit insurance. IMF, Fifth and Sixth Reviews
Under the Extended Arrangement Under the Extended Fund Facility 62 (Aug. 25, 2023),
http://www.elibrary.imf.org/view/journals/002/2023/312/article-A001-en.xml (“IMF Report”).


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               Even if the Republic could appropriate or borrow funds to secure a bond or pay the

$16.1 billion judgment—and it cannot—doing so would impose serious hardship on its more than

45 million people, who are already suffering from high inflation and the adverse economic

consequences of a severe and persistent drought, “with reserves falling to dangerously low levels

on account of the drought.” IMF Report, supra n.3 at 7–9. The 5.5 trillion peso judgment4

represents almost 20% of the Republic’s annual budget, exceeding the Argentine government’s

budget for many of its most significant programs, including subsidies for energy and

transportation, support for the Ministry of Health, provision of drinking water and sewage, and

assistance to its provinces. (Rigo Decl. ¶ 11.)

               Confirming that Plaintiffs have only just begun a campaign to embroil the Republic

in enforcement proceedings, on October 16, 2023, Plaintiffs served an extremely broad set of

discovery requests on the Republic. (See Ex. 3 (Document Requests).) The seventy-seven requests

are tremendously burdensome, seeking, for example, documents concerning any of the Republic’s

commercial transactions, with any person worldwide since 2020 (id. Req. 22) and documents about

every account of every kind ever used since 1993 to hold or transfer YPF shares or share proceeds

(id. Reqs. 1–12). And Plaintiffs target government information of no relevance to enforcing the

judgment in this case, such as information about dealings between the Republic’s central bank and

the IMF, the International Bank for Reconstruction and Development, the International

Development Association, and the Inter-American Development Bank. (Ex. 3 Reqs. 53–58).




4
 The Republic arrived at this figure by converting the judgment amount to pesos, applying the
Argentine Central Bank’s wholesale exchange rate as of September 27, 2023.


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                                     LEGAL STANDARD

               Under Federal Rule of Civil Procedure 62(b), an appellant is entitled to a stay as a

matter of right pending appeal by posting a supersedeas bond. The Rule, however, “in no way,”

“implies that filing a bond is the only way to obtain a stay.” Federal Prescription Serv., Inc. v.

Am. Pharm. Ass’n, 636 F.2d 755, 759 (D.C. Cir. 1980). To the contrary, and as the Second Circuit

has made clear, a district court may in appropriate circumstances exercise its discretion to waive

the bond requirement. See In re Nassau County, 783 F.3d at 417. In fact, an “inflexible” bond

requirement “can in some circumstances be irrational, unnecessary, and self-defeating, amounting

to a confiscation of the judgment debtor’s property without due process.” SDF9 Cobk LLC v. AF

& AR LLC, 2015 WL 3440259, at *2 (E.D.N.Y. May 27, 2015) (Vitaliano, J.) (quoting Texaco

Inc. 784 F.2d at 1154). Courts can waive the bond requirement “when doing so does not unduly

endanger the judgment creditor’s interest in ultimate recovery.” Palazzetti Import/Export, Inc. v.

Morson, 2002 WL 562654, at *3 (S.D.N.Y. Apr. 16, 2002) (Maas, J.) (citation omitted).

               The Second Circuit has identified five “non-exclusive” factors that district courts

“may consider” in assessing whether the bond requirement should be waived. In re Nassau

County, 783 F.3d at 417–18. Those factors are:

       (1) the complexity of the collection process; (2) the amount of time required to
       obtain a judgment after it is affirmed on appeal; (3) the degree of confidence that a
       district court has in the availability of funds to pay the judgment; (4) whether the
       defendant’s ability to pay the judgment is so plain that the cost of a bond would be
       a waste of money; and (5) whether the defendant is in such a precarious financial
       situation that the requirement to post a bond would place other creditors of the
       defendant in an insecure position.

Id.




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                  Courts in this Circuit, including this one, have also taken into account other

pertinent factors such as “principles of . . . sovereignty,” Cayuga Indian Nation, 188 F. Supp. 2d

at 255, whether the stay applicant “has made a strong showing that he is likely to prevail on the

merits of his appeal,” whether “without a stay, the applicant will be irreparably injured,” “whether

issuance of the stay will substantially harm other parties interested in the proceedings,” and “where

the public interest lies.” E.J. Brooks Co. v. Cambridge Security Seals, 2016 WL 908633, at *1

(S.D.N.Y. Mar. 2, 2016) (Preska, J.) (staying enforcement of judgment after considering

“irreparable harm” bond requirement could impose). The Court may always “exercise its equitable

powers to stay proceedings to protect the status quo during the pendency of [an] appeal,” as “part

of its traditional equipment for the administration of justice.” Petroleos de Venezuela S.A. v.

MUFG Union Bank, N.A., 2020 WL 7711522, at *2 & n.5 (S.D.N.Y. Dec. 29, 2020) (Failla, J.)

(granting stay based on Nassau factors as well as other factors, including “irreparable injury” to

the applicant).

                                           ARGUMENT

I.     THE COURT SHOULD STAY EXECUTION OF THE JUDGMENT PENDING
       APPEAL WITHOUT REQUIRING A BOND

       A.         The Size of the $16.1 Billion Judgment and Impossibility of Securing a Bond
                  Support a Stay Without Bond

                  The unprecedented size of the judgment and the impossibility of bonding or paying

it immediately weigh in favor of waiving the bond requirement. As the Republic’s Secretary of

Treasury and the Secretary of Finance explain, the Republic cannot fund or bond a $16.1 billion

judgment, an amount that likely could not be secured by any litigant,5 much less a nation with C-


5
  The combined underwriting limits of the 212 surety companies licensed in New York is
approximately $30.4 billion, and this judgment represents over half that total combined limit. See
https://www.fiscal.treasury.gov/surety-bonds/list-certified-companies.html. This limit is itself
wholly hypothetical, as sureties typically offer supersedeas bonds for only a fraction of their limits,


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level credit ratings (i.e., in the bottom range of debt ratings assigned by the major credit agencies

signifying a very high level of risk). (Ex. 2 (Setti Decl.) ¶ 6.) This Court should not require a

“potentially crippling bond requirement” that the Republic cannot hope to meet. Palazzetti, 2002

WL 562654, at *3 (waiving bond requirement where bank was “unwilling to issue” letter of credit

needed for bond); Int’l Distrib. Centers, Inc. v. Walsh Trucking Co., Inc., 62 B.R. 723, 732

(S.D.N.Y. 1986) (Keenan, J.) (“These are not the normal circumstances given the relatively

inadequate resources of the non-bankrupt individual defendants, in which a full supersedeas bond

should, or can, be required.”).

               1.      Argentine law prohibits the Republic from securing a supersedeas bond for

a $16.1 billion judgment (or paying the judgment) at this time. The 2023 budget for Argentina,

which was presented to Congress in 2022, necessarily does not authorize any such payment. (Ex.

1 (Rigo Decl.) ¶ 8(a).) Nor could Congress amend the budget now to include such authority.

Under Argentine law, a payment on an outstanding legal judgment “cannot be budgeted for” by

the Argentine Congress “until the appeal process for the Judgment has concluded.” (Id. ¶ 7 (citing

Law 11,672, Art. 170) (emphasis added).) The appeal process in this case has just begun. Courts

have taken similar realities into account in staying bond requirements where securing a bond

requires intervention by a legislature or similar body. See Conte v. County of Nassau, 2015 WL

13720237, at *1 (E.D.N.Y. June 4, 2015) (Bianco, J.).



even to judgment debtors with excellent credit. For example, in Stmicroelectronics, N.V. v. Credit
Suisse Securities (USA) LLC, 09-CV-1388, ECF No. 35 (S.D.N.Y. Aug. 27, 2010), respondent
Credit Suisse secured a supersedeas bond of $385,806,565 using three separate surety companies.
The maximum liability on the bond for sureties Fidelity and Deposit Company of Maryland and
Zurich American Insurance Company jointly was $192,903,282.50; the maximum liability on the
bond for surety Liberty Mutual Insurance Company was $192,903,282.50. Id. at 2. In contrast,
Fidelity had at the time of the bond an underwriting limit of approximately $15.5 million; Zurich
had a limit of approximately $555 million; and Liberty Mutual’s limit was approximately $663
million. See http://fms.treas.gov/c570/c570-02-12-09.pdf.


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                2.      Beyond these legal impediments, paying or bonding a $16.1 billion

judgment is a practical impossibility because of the Republic’s current financial circumstances.

As the Republic’s Secretary of Treasury states, there are no “sources of funding to finance or

secure the amount of the Judgment in this fiscal year.” (Ex. 1 (Rigo Decl.) ¶ 10.) The year is

three-quarters over, and it would not be possible to reallocate funds committed to (or already spent

for) other programs to pay or bond the judgment this year. (Id. ¶¶ 8, 10.) The Republic also cannot

secure funds from international lenders because it “currently does not have the ability to issue

public debt on the international capital markets.” (Ex. 2 (Setti Decl.) ¶ 6.) Nor can the Republic

raise money “on the local market,” which would “not be able to absorb additional net financing of

the magnitude required to pay the amount of the Judgment.” (Id. ¶¶ 9–10.) Because the Republic

does not have access to international capital markets, it is simply not in a position to obtain a surety

bond, and certainly not to obtain sufficient funds to pay the entire judgment. Cayuga Indian

Nation, 188 F. Supp. 2d at 256 (granting motion to waive bond requirement in part because it

would be “impossible to find a bonding agency willing and able to secure a judgment of this size”).

                3.      Even if it were possible legally and practically to somehow secure a bond

for a $16.1 billion judgment or, in the alternative, to obtain approval from the Argentine Congress

to begin paying the judgment, making either payment now would unnecessarily harm a country

that is confronting a plethora of economic challenges. IMF Report, supra n.3, at 7–9; see River

Oaks Marine, 1992 WL 406813, at *1 (“Many innocent third parties may suffer if execution is

allowed to proceed.”); E.J. Brooks Co., 2016 WL 908633, at *1 (noting “irreparable harm” to

defendant that could result from bond requirement).            The Republic is suffering from an

increasingly severe drought and acute inflation; the judgment represents over 14 times the annual

budget for drinking water and over 8 times the budget for the Ministry of Health. (Ex. 1 (Rigo




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Decl.) ¶ 11(e), (f).) It amounts to 20 percent of the Republic’s 2023 budget. (Id. ¶ 11.) In other

words, the “balance of the public interest of [Argentina] predominates over the financial interest”

of Plaintiffs here, Morgan Guar. Trust Co., 702 F. Supp. at 66, given that a bond—even if possible

to secure—would come at the expense of the Argentine populace’s needs.

               In analogous circumstances where a bond would be impossible to acquire or would

impose substantial hardship, courts have rightly waived the requirement. In River Oaks Marine,

for example, the court stayed execution of the judgment without bond where the defendant

municipality, as here, had “no legal authority to pay the judgment out of funds that have already

been allocated to pay for public functions,” and the town’s “residents and visitors” could suffer

“substantial hardship” from immediate execution. 1992 WL 406813 at *2. And in Morgan

Guaranty Trust Co., the court waived the full bond requirement where the $45 million judgment

was greater than the anticipated revenue of the sovereign defendant. 702 F. Supp. at 65–66; see

also Texaco, 784 F.2d at 1140, 1155 (waiving bond requirement following issuance of $11.12

billion judgment where posting bond would likely force defendant into bankruptcy and have severe

economic impact on shareholders and employees); Teachers Ins. & Annuity Ass’n of Am. v.

Ormesa Geothermal, 1991 WL 254573, at *4 (S.D.N.Y. Nov. 21, 1991) (Wood, J.) (waiving full

bond requirement to avoid “a severe impact on Defendants . . . that could force Defendant Ormesa

to cease operations and liquidate its assets”).        The Court should likewise waive the bond

requirement here pending resolution of the Republic’s appeal.

       B.      Principles of International Comity Strongly Favor Granting a Stay and
               Waiving the Bond

               “Comity refers to the spirit of cooperation in which a domestic tribunal approaches

the resolution of cases touching the laws and interests of other sovereign states.” Societe Nationale

Industrielle Aerospatiale v. U.S. Dist. Ct. for S. Dist. of Iowa, 482 U.S. 522, 543 n.27 (1987).



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Courts apply this principle by interpreting “statutes affecting international relations[] to avoid,

where possible, producing friction in our relations with other nations.” Philipp, 141 S. Ct. at 714

(quotation omitted). “[I]n assessing the need for a supersedeas bond” in particular, courts act with

“respect for the dignity and interests” of states and foreign governments. Cayuga Indian Nation,

188 F. Supp. 2d at 255 (waiving bond requirement for State of New York); see Gates v. Syrian

Arab Republic, 2009 WL 10693488, at *2 (D.D.C. Feb. 6, 2009) (waiving requirement for Syrian

Arab Republic); Easter House v. State of Ill. Dep’t of Children & Family Servs., 645 F. Supp. 107,

108 (N.D. Ill. 1986) (waiving requirement for State of Illinois).          This approach supports

“deferr[ing]” remedies for commercial actors “to accommodate the needs of an emerging nation,”

Morgan Guar Trust Co., 702 F. Supp. at 66, which is the appropriate outcome here.

               1.      Because of the legal and practical impediments to paying or bonding the

$16.1 billion judgment in this case, principles of comity weigh heavily in favor of granting a stay

without bond. Without a stay and waiver of the bond requirement, the Republic will become

entangled in burdensome discovery, attachment, and execution proceedings across the globe that

infringe on its sovereign rights and may prove to be ultimately unnecessary.

               Plaintiffs have started the process by serving on the Republic a burdensome set of

seventy-seven document requests for information that touches on the Republic’s financial affairs

and its relationships with other nations. See supra at 6. These overbroad requests intrude deeply

into the workings of Argentina’s government. For example, responding to requests for documents

“sufficient to identify all bank accounts, brokerage accounts, trust accounts, or custodial accounts,

that are managed for the benefit of the Secretariat of the Treasury of the Ministry of Economy”

(Ex. 3, Req. 62) would require coordination across multiple divisions of the Republic’s




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government in order to ascertain whether any relevant documents exist, what privileges apply to

those documents, and how to identify them.

               2.       Absent a stay, after litigating discovery issues, even more litigation will

surely follow in courts around the world. The institution of attachment proceedings against the

Republic has spawned lengthy proceedings that frequently pose significant and intractable legal

issues in their own right, including proceedings that have unlawfully infringed upon the Republic’s

sovereign immunity. Creditors, for example, have aggressively tried to seize Argentinian assets

immune from collection, requiring expensive and lengthy lawsuits across the country:

              In NML Capital, Ltd. v. Space Exploration Techs. Corp., 2015 WL 1334291 (C.D.
               Cal. Mar. 6, 2015), a judgment creditor sought to attach contracts between
               Argentina’s space agency and SpaceX to launch two of Argentina’s observation
               satellites into space “to study the global environment.” Id. at *2. The court rejected
               this attempt, holding that these contracts were not “used” for commercial activity
               simply because they involved a private corporation. Id. at *7.

              In HWB Victoria Strategies Portfolio v. Republic of Argentina, 2017 WL 1738065
               (D. Kan. May 4, 2017), plaintiff judgment creditors sought to attach two aircraft
               engines in Kansas that were “operated exclusively by military personnel from the
               Argentine Air Force.” Id. at *1. The judgment creditors argued these assets were
               not immune from attachment because “GE [was] repairing the engines,” rendering
               them property used for “a commercial purpose.” Id. at *3. The district court held
               these assets were not used for commercial purposes and, indeed, were of “military
               character” and thus immune from attachment. Id. at *2 (citing 28 U.S.C. §§ 1609,
               1611).

              In EM Ltd. v. Republic of Argentina, 473 F.3d 463 (2d Cir. 2007), the Second
               Circuit affirmed the district court’s order rejecting judgment creditors’ attempts to
               attach funds in the account of Argentina’s Central Bank at the Federal Reserve
               Bank in New York, “[e]ven though [judgment creditors did] not hold or seek



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               judgments against” the Central Bank. Id. at 465. The Second Circuit confirmed
               that the Central Bank’s funds held in its own account were not available to satisfy
               a judgment against the Republic, and that a government’s repayment of debt to the
               IMF (the intended use of the funds of the Central Bank) is not a “commercial
               activity” in any event. Id. at 480–84.

Plaintiffs have touted their “team of 30 recovery specialists” ready to commence just these types

of enforcement proceedings. See Miller & Nugent, supra n.1. The Court should not set into

motion such sprawling and intrusive enforcement proceedings in courts around the world against

a sovereign nation without knowing whether those proceedings will ever be necessary.

       C.      Requiring a Bond Would Place Numerous Other Creditors at Risk

               Courts have recognized that the “waiver of the bond requirement may be

appropriate where (1) the defendant’s ability to pay the judgment is so plain that the cost of the

bond would be a waste of money; and (2) the opposite case, . . . [where] the requirement would

put the defendant’s other creditors in undue jeopardy.” Hardesty v. Sacramento Metro. Air Quality

Mgmt. Dist., 2019 WL 2715616, at *4 (E.D. Cal. 2019) (quoting Olympia Equip. Leasing Co. v.

W. Union Tel. Co., 786 F.2d 794, 796 (7th Cir. 1986) (summarizing same five non-exclusive

factors adopted by the Second Circuit)). This is the “opposite case,” where conditioning a stay on

posting of a bond—that cannot be posted—would jump-start global collection proceedings by

Plaintiffs and thereby unnecessarily place the Republic’s other creditors “in an insecure position.”

In re Nassau County, 783 F.3d at 418; see also Acevedo-Garcia v. Vera-Monroig, 296 F.3d 13, 17

(1st Cir. 2002) (no bond required if “the bond would put the defendant’s other creditors in undue

jeopardy”).

               The IMF reports that Argentina currently owes $235 billion to public and private

sector creditors. IMF Report, supra n.3 at 56. Those creditors include the IMF itself, the World



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Bank, the Inter-American Development Bank, the Paris Club Creditors, and private investors. Yet

“any judgment in favor of the . . . Plaintiffs,” on their impending attempts to seize the Republic’s

assets “would be satisfied from the same limited pool of funds sought by” the Republic’s private

and public sector creditors, along with any other judgment creditors. Bernard L. Madoff Inv. Sec.,

443 B.R. at 316 (extending bankruptcy stay to new asset recovery litigation to protect preexisting

third-party creditors of bankruptcy estate); see Olympia Equip., 786 F.2d at 798 (affirming waiver

of bond requirement after balancing interest of “judgment creditor” against “the interest of the

other creditors”). Because of the strength of the Republic’s arguments on appeal and the difficulty

of unwinding collections, see Part I(D), infra, Plaintiffs should not be permitted to begin this

process prematurely at the expense of other creditors. See Rivera v. Home Depot U.S.A., Inc.,

2018 WL 3105069, at *2–3 (S.D.N.Y. June 25, 2018) (Forrest, J.) (staying enforcement of

judgment and waiving bond requirement “in the interest of judicial efficiency”).

       D.      The Republic Has Substantial Grounds for Appeal and Limited Ability to
               Recoup Any Payments Made to Plaintiffs

               All this disruption and hardship may well prove unnecessary because the Republic

has a “substantial case on the merits,” another factor courts have considered relevant in granting a

stay pending appeal without bond. Cayuga Indian Nation, 188 F. Supp. 2d at 253. Indeed, the

case law is clear that “[t]ribunals may properly stay their own orders when they have ruled on an

admittedly difficult legal question.” Morgan Guar. Trust Co., 702 F. Supp. at 66.

               The Court decided this Argentine law dispute over the Republic’s objections on

forum non conveniens and international comity grounds. (See Petersen ECF No. 161 at 40–41 &

n.15.) The Court’s summary judgment decision resolved numerous complex questions of public

and private Argentine law, all against the Republic’s view of its own law. (See Petersen ECF

No. 437, Mar. 30, 2023 Order at 36–53.) To cite one important example, Plaintiffs do not deny



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that the Court’s judgment is the only one ever granted under Argentine law in a shareholder-

against-shareholder action seeking damages for breach of a corporate bylaws provision. The Court

also entered the largest award in this District’s history, notwithstanding the Republic’s substantial

legal objections to the calculation of the amount of damages. (See Petersen ECF No. 493.) Given

the undeniably unique nature of this case, and “because of the difficulties of the issues here

presented, it would be foolhardy to predict that there is no likelihood of success on appeal.”

Morgan Guar. Trust Co., 702 F. Supp. at 65.

               If the Republic prevails on appeal, any execution proceedings, if successful, would

be extremely difficult to unwind. Rule 62 exists in part to “protect[] the other side against the risk

that payment cannot be recouped if the decision should be reversed.” In re Nassau County, 783

F.3d at 417 (quoting Cleveland Hair Clinic, Inc. v. Puig, 104 F.3d 123, 125 (7th Cir. 1997)). Here,

Burford Capital has sold at least 38.75% of its interest in these cases to third-party investors whose

identity has not been publicly disclosed. Other funds would immediately go to Plaintiffs’ Spanish

bankruptcy proceedings; and still others would be paid out as contingency fees. See Burford

Capital LLC, supra n.2. The Republic should not be put at risk of having to attempt to recover

assets in unknown, far-flung jurisdictions from unidentified parties.

       E.      The Balance of Equities Favors a Stay

               Finally, courts have also considered the balance of equities between the parties in

determining whether to issue a stay and waive the bond requirement. See Morgan Guar. Tr. Co.,

702 F. Supp. at 66 (stay appropriate where “the equities of the case suggest that the status quo be

maintained”). Here, that balance decisively favors the Republic.

               1.      The odds of immediate execution “irreparably injuring” the Republic and

its people are severe in this case. See Texaco, 784 F.2d at 1154 (holding that district court should

have waived supersedeas bond requirement). There is no doubt that imposing a bond requirement


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and thereby effectively allowing Plaintiffs to collect now and defend the judgment on appeal later

would reduce the funds available for the Republic’s social and population needs. Waiving the

requirement, on the other hand, will avoid potentially unnecessary discovery and collection

litigation and financial harms to a population of over 45 million people.

               2.      A temporary stay will not harm Plaintiffs. Fed. Prescription Serv., Inc., 636

F.2d at 759 (affirming district court’s decision to waive bond requirement where it would do

Plaintiff no “material damage”); Palazzetti, 2002 WL 562654, at *3 (appropriate to enter a stay

without bond when “judgment creditor’s interest in ultimate recovery” is not endangered). To the

contrary, Plaintiffs are entitled to post-judgment interest at 5.42% per year. See 28 U.S.C. § 1961;

Cayuga Indian Nation, 188 F. Supp. at 253 (“[T]he court cannot ignore the fact that there would

be no concomitant harm to the tribal plaintiffs if it grants a stay because they would be entitled to

post-judgment interest.”). Moreover, there is no showing that Plaintiffs’ ability to recover “will

be any greater now than in the future,” because the Republic—the second-largest country in South

America—“is not going anywhere,” Morgan Guar. Trust Co., 702 F. Supp. at 66. The Republic

is actively working to improve its credit situation, including via negotiations with the IMF, so that

it may be in a better position to pay creditors in the future. And all parties and affected courts will

benefit from orderly collection proceedings as opposed to chaotic enforcement actions that also

entangle existing creditors.

II.    IN THE ALTERNATIVE, THE COURT SHOULD GRANT A TEMPORARY
       STAY

               If it does not grant the Republic’s stay motion in full, the Court should order a 30-

day stay from the date of the Court’s denial so that the Republic can seek a stay pending appeal

from the Second Circuit. “[B]rief stays for a matter of days are frequently issued when a district

court denies an open-ended stay pending appeal,” because “[t]hey give the appellate court an



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opportunity to decide whether an additional stay . . . should be granted.”           U.S. CFTC v.

eFloorTrade, LLC, 2020 WL 2216660, at *10 n.14 (S.D.N.Y. May 7, 2020) (Gardephe, J.)

(quoting Rodriguez v. DeBuono, 175 F.3d 227, 235–36 (2d Cir. 1999)) (granting temporary stay

of monetary judgment “to allow Defendants to seek a stay from the Court of Appeals”); Centauri

Shipping Ltd. v. W. Bulk Carriers KS, 528 F. Supp. 2d 186, 196 (S.D.N.Y. 2007) (Sullivan, J.)

(same and collecting cases).

               This Court has followed that practice, granting motions for a brief “temporary

stay,” so that parties can “apply to the Court of Appeals for a stay pending appeal.” Arctic Ocean

Int’l Ltd. v. High Seas Shipping Ltd., 2009 WL 5103283, at *2 (S.D.N.Y. Dec. 28, 2009) (Preska,

J.). There is no reason to deviate from the ordinary course in this significant dispute.

                                         CONCLUSION

               For the foregoing reasons, this Court should grant the Republic’s motion for a stay

of enforcement of the judgment pending appeal without bond.

                                              Respectfully,


 Dated: October 26, 2023                      /s/Robert J. Giuffra, Jr.
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